             Case 2:20-cv-00483-RMP                   ECF No. 10          filed 06/08/21     PageID.30 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                   for thH_                                         FILED IN THE
                                                                                                                U.S. DISTRICT COURT
                                                      Eastern District of Washington                      EASTERN DISTRICT OF WASHINGTON


                CHARLES JOSEPH REEVIS,
                                                                                                               Jun 08, 2021
                                                                      )                                         SEAN F. MCAVOY, CLERK
                             Plaintiff                                )
                                v.                                    )       Civil Action No. 2:20-CV-00483-RMP
             U.S. DEPARTMENT OF JUSTICE,                              )
                                                                      )


                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

u the plaintiff (name)                                                                                         recover from the
defendant (name)                                                                                                  the amount of
                                                                             dollars ($              ), which includes prejudgment
interest at the rate of                    %, plus post judgment interest at the rate of            % per annum, along with costs.

u the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: This action is DISMISSED without prejudice for lack of subject matter jurisdiction.
u




This action was (check one):
u tried by a jury with Judge                                                                          presiding, and the jury has
rendered a verdict.

u tried by Judge                                                                           without a jury and the above decision
was reached.

✔
u decided by Judge                       ROSANNA MALOUF PETERSON.




Date: 6/8/2021                                                               CLERK OF COURT

                                                                             SEAN F. McAVOY

                                                                             s/ Tonia Ramirez
                                                                                            %\ Deputy Clerk

                                                                             Tonia Ramirez
